
PER CURIAM.
We have for review Cook v. State, 714 So.2d 674 (Fla. 5th DCA 1998), a decision of the Fifth District Court of Appeal citing as controlling authority its decision in Maddox v. State, 708 So.2d 617 (Fla. 5th DCA 1998), approved in part, disapproved in part, 760 So.2d 89 (Fla.2000). We have jurisdiction. See art. V, § 3(b)(3), Fla. Const.; Jollie v. State, 405 So.2d 418, 420 (Fla.1981). We quash the district court’s decision in this case and remand for consideration in light of our opinion in Maddox v. State, 760 So.2d 89 (Fla.2000).
It is so ordered.
WELLS, C.J., and SHAW, HARDING, ANSTEAD, PARIENTE, LEWIS and QUINCE, JJ., concur.
